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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF ARIZONA

                                   (CIVIL MINUTE ORDER)


Case No.       CV-17-275-TUC-DCB                               Date: December 29, 2017

Title:          Reeves v. N.A.R. Inc.


                              HONORABLE DAVID C. BURY

Proceedings:           _____Open Court         _____Chambers            X Other

         PLEASE TAKE NOTICE:

          THE COURT having reviewed the Parties’ Stipulation for Dismissal With

Prejudice, and being fully advised in the premises,

         DOES HEREBY ORDER that the Case is dismissed with prejudice and with each

party to bear their respective costs and fees. This action is closed.
